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                                    "-J.'lITED STATES DISTRICT CO,-_{T
                                    SOUTHERN DISTRICT OF ILLINOIS
                                         [ ] BENTON    [~  EAsT ST. LoUIS




    x      COURT ORDERS PRE-SENTENCE REPORT TO BE SEALED WITH COUNSEL HAVING ACCESS TO SAME IN THE
EVENT OF APPEAL RECOMMENDATION TO BE PLACED UNDER SEPARATE SEAL AND COUNSEL WILL NOT HAVE ACCESS
TO SAME.
COURT'S RUUNGS ON OBJECTIONS TO PRESENTENCE REpORT: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



TOTAL AMOUNT OF                          CONSTITUTING DEFENDANT'S RELEVANT CONDUCT IS _ _ _ _ _ __
Supervised Re1ease Range:                &I ;
OFFENSE LEVEL:               3                  CRIMINAL HISTORY CATEGORY:     _:rzr...:::~:::::;________
SENTENJilfiG RANGE:       &/1; ?iPOrnbs-ll            FINE RANGE:    -1-as: 000 - ~(p /)00, DOD
        l)tIb1. ' !>M /J'nI4       ~                                    '.:w4.
        - - -• COURT ACCEPTS PLEA AGREEMENT                          COURT REJECTS PLEA AGREEMENT

DEFENSE WITNES ES:                                    J~4-1 Pin -   ,'.51fJm    '        ft1v;J
                      I :5$PIn .. /1. t/)O Pm




[ ] GOVERNMENT MOVES FOR DOWNWARD DEPARTURE               [ ] GRANTED       [ ] DENIED
DEPARTURETO _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                       ~   _ _ _ _ _ _ _ _ _ _ _ ___

OFFENSE LEVEL:                    CRIMINAL HISTORY CATEGORY:   -7'/'----------------­
        _ _ _ CUSTODY OF ATTORNEY GENERAL                    V      CUSTODY OF BUREAU OF PRISONS

SENTENCE:        3'7rz~~~ ~ 3(,1J~-",,-,
   (!t; J6J.,    JiJ      /Uv)v _ .




        (Rev. 8/94)
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                                                                                                                                  · ,..

Con¥oDS of SupervisioD/Probation:
Ltt'/ Within 72 hours oC release from BOP, defendant to report to Probation in District released.
M ftefendant shall not commit any Curther crimes.
[tl'/ Defendant shall not possess firearm or other destructive device.                                            .       .'
[\4'/ DeCendant shall not OIegally possess any controlled substances.
[v{ - . Defendant to participate in substance abuse program approved by Probation.
[ ]
[ ]

[ 1/
[ \;('    DeCendant fined _4--:;...:/():=.....r-~..!ooC..f_---'''--'-.......;.._U""''---_· on Counts -AJI---~_I_::L
                                                                                                               _________

[~ Interest waived                       [-] Int.....t Imposed
[\.1'/    Fine to be paid from prison               rnings, or while deCendant is on supervised release.
[vi       Special Assessment oC $                   $/ DO on Count(s) J'+' Jg                          due immediately.
[]        Restitution is ordered in the amount oC $                                          to be paid to _ _ _ _ _ _ _ _ _ __




[ / Court liDeIs defendant's fiDanclaI                  conditi~}I' is such that       he is unable      u.
      /    [ ] pay restitution, [ ] pay a fiDe,              [V( pay costs oC incarceration or supervision, and they are WAIVED.
ni        Defendant advised of right to appeal.
[]        Recommendation _ _ _+ ___________________________

[]        BOND: [ ] Revoked [                   Remanded [] Continued; defendant to voluntarily surrender as notified by
          USM to designated institution; or [ ] surrender to USM on _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
[]        Count(s)                                  dismissed on Motion of Government.


-jc- ~ ~ a:todv-L. ~~ (}ftv Se;4L56 .


~~~~~~~~~


          (Rev. 8/94)


          - - - - - - - - - - --.--.-.--..-                                 . ----------~------_______"'J
          Case 4:00-cr-40101-SMY Document 354 Filed 08/20/01 Page 3 of 3 Page ID #133
                             IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF ILLINOIS
                                             EXHIBIT LIST

Style:                 USA v. BRAD TAYLOR

CASE NUMBER            00-40101-05-GPM

Presiding Judge               Plaintifrs Attorney                 Defendant's Attorney
G. Patrick Murphy             George Nonvood                      John Delaney, Jr.
Trial Dates                   Court Reporter                      Courtroom Deputy
8120/01                       Molly Clayton                       Linda Cook


 PltflGovt     Deft.     Date            Admitted   Description
 No.           No        Marked
 I                       8120/01         X          Statement of Randall Moss dated 11116/00
 2                       8/20/01         X          Report by Tim Kirkham dated 9118100
 3                       8/20/01       X            Proffer by Chad Sanders dated 2/5101
